                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                           DOCKET NO. 3:96-cr-00004-3-MOC

UNITED STATES OF AMERICA,                       )
                                                )
                                                )
                                                )
Vs.                                             )                        ORDER
                                                )
ALVIN BREWER,                                   )
                                                )
                 Defendant.                     )



       THIS MATTER is before the court on defendant’s pro se letter dated April 6, 2013, and

filed April 15, 2013. In that letter, defendant calls into question the jurisdiction of this court to

impose an active term of imprisonment on his most recent Supervised Release Violation in this

matter. Defendant argues that “when you imposed the 33 months on the 3:96cr0004 case there

was no more Supervised Release remaining on the 5 year Supervised Release.” Letter (#241) at

1.

       In sum, this court imposed an active term of imprisonment in this matter of 33 months,

but ran such sentence concurrently with the 46-month sentence imposed in 3:01cr27. This court

also imposed an additional term of supervised release of 12 months, to be run concurrently with

the term imposed in 3:01cr27.

       Where, as here, a defendant is represented by counsel, this court will not address the

merits of a pro se motion. L.Cr.R. 47.1(H). Further, as this court’s judgment is on direct appeal,

the court’s jurisdiction is narrow as to what it may consider during the pendency of such appeal.

Rule 4(b)(5), Fed.R.App.P., limits this court’s jurisdiction during the pendency of an appeal to

consideration of clear error under Rule 35(a), Fed.R.Crim.P. Defendant has not shown clear

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error. Specifically, the court was authorized to impose an active sentence under 18 U.S.C. §

3583(e) well above the 33 months it actually imposed. The court could require defendant to

serve all or part of the term of supervised release authorized by the statute for the offense that

resulted in the imposition of the term of supervised release which was violated, without credit

for time previously served on post-release supervision. As to the additional term of supervised

release, the PROTECT Act authorizes a new term of supervised release of up to 60 months, less

any term of imprisonment imposed upon the revocation, making the sentence imposed in this

matter a lawful judgment and not clearly erroneous under Rule 35(a).

       Having considered defendant’s pro se letter and reviewed the pleadings, the court enters

the following Order.

                                          ORDER

       IT IS, THEREFORE, ORDERED that defendant’s pro se letter (#241), to the extent it

seeks relief, is DENIED as non-justiciable under L.Cr.R.47.1(H), and under Rule 35(a) as clear

error has not been shown.




              Signed: May 1, 2013




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